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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ROME DIVISION

In re:
                                                  CASE NO. 14-40039-PWB
STEPHEN H. BREWSER, SR.,
                                                  CHAPTER 11
               Debtor.


STEPHEN H. BREWSTER, SR.,

                Movant,
                                                  CONTESTED MATTER
v.

DRRF II SPE, LLC as assignee of Crimson
Portfolio ALPHA, LLC, as assignee of
Crimson Portfolio, LLC as assignee of
Synovous Bank, as successor in interest
via name change and merger with Citizens
First Bank,

               Respondent.

  NOTICE OF REQUIREMENT OF RESPONSE TO DEBTOR’S OBJECTION TO PROOF OF
 CLAIM 11 ASSERTED BY DRRF II SPE, LLC AND FILED BY CRIMSON PORTFOLIO, LLC;
             OF DEADLINE FOR FILING RESPONSE; AND OF HEARING

       PLEASE TAKE NOTICE that on November 18, 2014, Stephen H. Brewster, Sr. (the
“Debtor”), Debtor in the above-captioned case filed an Objection to Proof of Claim 11 Asserted
by DRRF II SPE, LLC and Filed by Crimson Portfolio, LLC (Proof of Claim No. 11) (the
“Objection”), wherein Debtor objects to the claim as being overstated.

       Your rights may be affected by the court’s ruling on these pleadings. You should
read these pleadings carefully and discuss them with your attorney, if you have one in
this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)

If you do not want the court to grant the relief sought in these pleadings or if you want the court
to consider your views, then on or before December 22, 2014, you or your attorney must:

         (1)   File with the Court a written response, explaining your positions and views as to
               why your claim should be allowed as filed. The written response must be filed at
               the following address:

                      Clerk of the Bankruptcy Court
                      Federal Building, Room 339
                      600 East First Street
                      Rome, Georgia 30161-3187
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              If you mail your response to the Clerk for filing, you must mail it early enough so
              that the Clerk will actually receive it on or before the date stated above.

       (2)    Mail or deliver a copy of your written response to the Debtor’s attorney at the
              address stated below. You must attach a certificate of service to your written
              response stating when, how, and on whom (including addresses) you served the
              response.

       If you or your attorney does not file a timely response, the Court may decide that you do
not oppose the relief sought, in which event the hearing scheduled below may be cancelled and
the Court may enter an order disallowing your claim as requested without further notice and
without a hearing.

      If you or your attorney files a timely response, then a hearing will be held on the 7th of
January, 2015, at 9:25 a.m., in Courtroom 342, Federal Building, 600 East First Street,
Rome, Georgia 30161-3187.

       You or your attorney must attend the hearing and advocate your position.

       This 18th day of November, 2014.

                                    JONES & WALDEN, LLC

                                    /s/ Leslie M. Pineyro
                                    Leslie M. Pineyro, Esq.
                                    Georgia Bar No. 969800
                                    Attorney for Debtor
                                    21 Eighth Street, NE
                                    Atlanta, Georgia 30309
                                    (404) 954-6605




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Synovous Bank, as successor in interest
via name change and merger with Citizens
First Bank,

                  Respondent.

                 DEBTOR’S OBJECTION TO PROOF OF CLAIM 11 ASSERTED
                BY DRRF II SPE, LLC AND FILED BY CRIMSON PORTFOLIO, LLC

          COMES NOW Stephen H. Brewster, Sr. (the “Debtor”) and files this “DEBTOR’S

OBJECTION TO PROOF OF CLAIM ASSERTED BY DRRF II SPE, LLC AND FILED BY

CRIMSON PORTFOLIO, LLC” (the “Objection”) pursuant to 11 U.S.C § 502(b) and 28 U.S.C.

§157(b) and hereby objects to the Proof of Claim 11 filed by Crimson Portfolio, LLC and

assigned to DRRF II SPE, LLC 1 (the “Claim”) identified herein, and requests that the Court enter

an Order disallowing the Claim. In support of this Objection and Counterclaim, the Debtor

shows as follows:

                                       PROCEDURAL POSTURE

          1.      On January 6, 2014, Debtor filed a Voluntary Petition for Relief under Chapter 11

of the Bankruptcy Code (“Petition”).


1
    DRRF II, SPE, LLC shall be referred to herein as “DRRF.”


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         2.       Debtor is an individual business owner who resides in Rome, Georgia.

         3.       Debtor filed his “Amended Plan of Reorganization” (Doc. No. 71) on April 25,

2014, which was modified pursuant to the “First Modification to Plan” (Doc. No. 98) filed on June

12, 2014 (collectively the Amended Plan of Reorganization and the First Modification to Plan are

referred to herein as the “Plan 2”).

         4.       On June 20, 2014, the Court entered a Confirmation Order (Doc. No. 103)

confirming Debtor’s Plan of Reorganization

         5.       The Claim asserted by DRRF is a residential mortgage secured by a first priority

lien in Debtor’s residence located at 14 Belle Meade Drive, Rome GA.

         6.       The amount of the asserted Claim is reflected in proof of claim 11 filed in this

case by DRRF’s predecessor, Crimson Portfolio.

         7.       As provided in Debtor’s Plan and in the Motion to Requesting Authorization to

Commence Post Petition Mortgage Payments (Doc. No. 13) Crimson Portfolio, LLC asserts two

additional secured claims in Debtor’s Bankruptcy Case securing commercial properties owned

by Debtor.       Prior to the Petition Date, Debtor was tendering his regular monthly mortgage

payment to the servicer on his Residential Mortgage for the Claim. However, such were being

applied to the commercial loans rather than the residential loan on which the subject Claim is

based.        Accordingly, Debtor ceased such payments, but commenced same after the Petition

Date upon the Court’s entry of an order directing the application of Debtor’s post-petition

residential mortgage payments to the Claim rather than the commercial loans.

         8.       On January 24, 2014 the Court entered the Payment Order authorizing payments

to Respondent in the amount of $3,170.83 per month commencing February 2014. Debtor has

made all such post-petition payments.




2
  Capitalized terms not otherwise defined herein shall have the meaning assigned to the same in the
Plan.


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       9.      Debtor has made one additional post-petition payments in the amount of

$3,170.00.

       10.     Specifically, since the Filing Date through October 2014, Debtor has made the

following post-petition payments:

 Date       Amount
   2/3/2014  $3,170.00
   3/5/2014  $3,170.00
  3/14/2014  $3,170.00
  4/14/2014  $3,170.00
  4/25/2014  $3,170.00
  5/22/2014  $3,170.00
  7/14/2014  $3,170.00
  8/25/2014  $3,170.00
  9/30/2014  $3,170.00
 10/29/2014  $3,170.00
 TOTAL      $31,700.00


       11.     The Plan provides for the treatment of the Claim in Class 4, which provides that

Debtor shall continue to make his regular monthly mortgage payments and shall cure any pre-

petition arrearage in payments.

       12.     The Plan provides that the pre-petition arrearage on the Claim on the Filing Date

was $18,375.81. However, the Claim asserts that the pre-petition arrearage on the Claim on

the Filing Date was $30,865.82.

       13.     Since the Petition Date, in addition to Debtor’s regular payments, Debtor has

paid $3,170.00. Accordingly, Debtor’s arrearage is $15,205.81 on the Class 4 Claim as of the

end of October, 2014.

       14.     Debtor has made multiple requests for an accounting from Respondent and its

servicer, but has not received accurate or discernable information.

       15.    Accordingly, Debtor has not commenced arrearage payments out of fear that

such will be misapplied.



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                          ARGUMENT AND CITATION OF AUTHORITY

        Section 502(a) of the Bankruptcy Code provides that any proof of claim "is deemed

allowed, unless a party in interest ... objects." Ashford v. Consolidated Pioneer Mortg. (In re

Consolidated Pioneer Mortg.), 178 B.R. 222, 225 (B.A.P. 9th Cir. 1995) (citing Whitney v.

Dresser, 200 U.S. 532, 534-35 (1906)). Unlike a proof of claim, which must be filed before the

bar date, an objection to a proof of claim may be filed at any time. In re Consolidated Pioneer

Mortg., 178 B.R. at 225 (citing In re Thompson, 965 F.2d 1136, 1147 (1st Cir. 1992), In re

Kolstad, 928 F.2d 171, 174 (5th Cir. 1991), cert. denied, 502 U.S. 958, 112 S.Ct. 419, 116

L.Ed.2d 439 (1991)). Section 502(b) of the Bankruptcy Code and Bankruptcy Rule 3007 permit

a party in interest to object to a filed proof of claim.

        As detailed above, the arrearage claims, as of October 2014, owed on the Class 4

claims is $15,205.81. Debtor requests the Court enter an order establishing that the arrearage

on the Class 4 Claim as of October 31, 2014, is $15,205.81 and directing Respondent to apply

regular payments in accordance with the non-default terms of the Plan and apply the arrearage

payments to the allowed arrearage claim.

                                            CONCLUSION

        WHEREFORE, the Debtor requests the Court grant the relief requested in this Claim

Objection.

        Respectfully submitted on this 18th day of November, 2014.

                                                 JONES & WALDEN, LLC

                                                 /s/ Leslie M. Pineyro
                                                 Leslie M. Pineyro
                                                 Georgia Bar No. 969800
                                                 Attorney for Debtor
                                                 21 Eighth Street, NE
                                                 Atlanta, Georgia 30309
                                                 (404) 564-9300
                                                 lpineyro@joneswalden.com




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Crimson Portfolio, LLC as assignee of
Synovous Bank, as successor in interest
via name change and merger with Citizens
First Bank,

                Respondent.

                                   CERTIFICATE OF SERVICE

        This is to certify that I have served a copy of the Debtor’s Objection to Proof of Claim
11 Asserted by DRRF II SPE, LLC and Filed by Crimson Portfolio, LLC via U.S. Mail with
appropriate postage affixed thereto to ensure delivery or via method specified below upon the
following:

Via U.S. First Class Mail:                         Via U.S. First Class Mail:
BSI Financial Services, Inc.                       DRRF II SPE, LLC
314 S Franklin Street                              6621 E Pacific Coast Hwy Ste. 102
Titusville, Pennsylvania 16354                     Long Beach, CA 90803

Via Certified Mail & U.S. First Class Mail:        Via Certified Mail & U.S. First Class Mail:
Gagan Sharma, CEO                                  Corporation Services Company, Registered
BSI Financial Services, Inc.                       Agent
314 S Franklin Street                              Crimson Portfolio ALPHA, LLC
Titusville, Pennsylvania 16354                     2711 Centerville Rd., Ste. 400
                                                   Wilmington, DE 19808
Via Certified Mail & U.S. First Class Mail:
C T Corporation System, Registered Agent           Via Certified Mail & U.S. First Class Mail:
DRRF II SPE, LLC                                   Corporation Services Company, Registered
1201 Peachtree Street, NE                          Agent
Atlanta, GA 30361                                  Crimson Portfolio, LLC
                                                   2711 Centerville Rd., Ste. 400
                                                   Wilmington, DE 19808


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Via U.S. First Class Mail:                      Via U.S. First Class Mail:
Brock and Scott                                 Office of the US Trustee
5121 Parkway Plaza Blvd, Ste. 300               75 Spring Street, SW
Charlotte, NC 28217                             Suite 362
                                                Atlanta, GA 30303-3330
Via U.S. First Class Mail:
Walter E. Jones
30 Ivan Allen Jr. Blvd NW
Suite 700
Atlanta, GA 30308

       This 18th day of November, 2014.

                                                  JONES & WALDEN, LLC

                                                  /s/ Leslie M. Pineyro
                                                  Leslie M. Pineyro
                                                  Georgia Bar No. 969800
                                                  Attorney for Debtor
                                                  21 Eighth Street, N.E.
                                                  Atlanta, Georgia 30309
                                                  (404) 564-9300




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